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No. 04-08-00524-CR



Isaias Rodriguez RIOS,


Appellant



v.



The STATE of Texas,


Appellee



From the 379th Judicial District Court, Bexar County, Texas


Trial Court No. 2004-CR-9249


Honorable Bert Richardson, Judge Presiding



PER CURIAM


Sitting:	Alma L. López, Chief Justice

		Catherine Stone, Justice

		Steven C. Hilbig, Justice


Delivered and Filed:	August 29, 2008


DISMISSED

	Isaias Rios pleaded nolo contendere to first degree murder pursuant to a plea bargain
agreement. As part of his plea-bargain, Rios signed a separate "Waiver of Appeal."  The trial court
imposed sentence and signed a certificate stating that this "is a plea-bargain case, and the defendant
has NO right of appeal." See Tex. R. App. P. 25.2(a)(2). Rios timely filed a notice of appeal. The
clerk's record, which includes the plea bargain agreement and the trial court's Rule 25.2(a)(2)
certification, has been filed. See Tex. R. App. P. 25.2(d). This court must dismiss an appeal "if a
certification that shows the defendant has the right of appeal has not been made part of the record."
Id.

	The clerk's record establishes this is a plea bargain case; that is, the punishment assessed by
the court does not exceed the punishment recommended by the prosecutor and agreed to by the
defendant.  Rios's appointed appellate counsel has advised the court in writing that she has reviewed
the record and can find no right of appeal. After reviewing the record and counsel's notice, we agree
that Rios does not have a right to appeal. See Dears v. State, 154 S.W.3d 610 (Tex. Crim. App.
2005) (holding that court of appeals should review clerk's record to determine whether trial court's
certification is accurate). We therefore dismiss this appeal. Tex. R. App. P. 25.2(d). 


							PER CURIAM

Do not publish


